
34 N.Y.2d 603 (1974)
In the Matter of Bruno Capio, Respondent,
v.
Justices of the Supreme Court, Kings County et al., Appellants.
Court of Appeals of the State of New York.
Argued February 15, 1974.
Decided March 21, 1974.
Eugene Gold, District Attorney (Arthur Friedman of counsel), appellant, pro se.
Michael I. Winter for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order affirmed, without costs, on the opinion by Mr. Justice J. IRWIN SHAPIRO at the Appellate Division.
